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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                                      CRIMINAL ACTION

                v.                                             N0.18-193

 DKYLE JAMAL BRIDGES, et al.
          Defendants

                                            ORDER

       AND NOW, this 27th day of March 2019, upon consideration of Defendants' motion for

reconsideration, (Doc. 184), and the parties' oral argument thereon, it is hereby ORDERED that

the motion is DENIED. Notwithstanding, Defendants may renew their argument at trial, if

appropriate, with respect to the purported evidence that one alleged victim was operating her own

prostitution business.




                                            BY THE COURT:


                                            Isl Nitza 1 Quinones Alejandro
                                            NITZA I. QUINONES ALEJANDRO
                                            Judge, United States District Court
